
MEMORANDUM **
Stephen Law, Chapter 7 debtor, appeals pro se from the Bankruptcy Appellate Panel’s (“BAP”) judgment affirming the bankruptcy court’s order dismissing his claim as barred by the doctrine of res judicata. We have jurisdiction under 28 U.S.C. § 158(d). We review de novo the BAP’s decision. Arrow Elecs., Inc. v. Howard Justus (In Re Kaypro), 218 F.3d 1070, 1073 (9th Cir.2000). We affirm.
The BAP properly concluded that the bankruptcy court did not err when it granted summary judgment because Law was precluded from relitigating claims and issues that were resolved by a final judgment on the merits in a prior action involving the same parties. See Headwaters *154Inc. v. U.S. Forest Service, 399 F.3d 1047, 1051 (9th Cir.2005) (explaining doctrine of res judicata); Poonja v. Alleghany Props. (In re Los Gatos Lodge, Inc.), 278 F.3d 890, 894 (9th Cir.2002) (“[T]he bankruptcy court’s allowance or disallowance of a proof of claim is a final judgment.”).
The BAP did not abuse its discretion by denying Law’s motion to reconsider because Law did not present newly discovered evidence, an intervening change in the law, or clear error by the court. See 389 Orange Street Partners v. Arnold, 179 F.3d 656, 665 (9th Cir.1999).
Law’s remaining contentions are unpersuasive.
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.

